Case 14-28710   Doc 1   Filed 08/05/14   Entered 08/05/14 14:58:02   Desc Main
                           Document      Page 1 of 8
Case 14-28710   Doc 1   Filed 08/05/14   Entered 08/05/14 14:58:02   Desc Main
                           Document      Page 2 of 8
Case 14-28710   Doc 1   Filed 08/05/14   Entered 08/05/14 14:58:02   Desc Main
                           Document      Page 3 of 8
Case 14-28710   Doc 1   Filed 08/05/14   Entered 08/05/14 14:58:02   Desc Main
                           Document      Page 4 of 8
Case 14-28710   Doc 1   Filed 08/05/14   Entered 08/05/14 14:58:02   Desc Main
                           Document      Page 5 of 8
Case 14-28710   Doc 1   Filed 08/05/14   Entered 08/05/14 14:58:02   Desc Main
                           Document      Page 6 of 8
Case 14-28710   Doc 1   Filed 08/05/14   Entered 08/05/14 14:58:02   Desc Main
                           Document      Page 7 of 8
Case 14-28710   Doc 1   Filed 08/05/14   Entered 08/05/14 14:58:02   Desc Main
                           Document      Page 8 of 8
